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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE F l L E D BY
EASTERN DIVISION `\_
JUL 1
JACOB RHODES, a minor, by and ) 2 2005
through his parent DIANA RAY ) Th¢l'-’Jmas M. Gou¢q, clerk
MooRE ) W D SM$J§$SL
)
Plaintiffs, )
) No. 1:04-]191-JDT-Sta
v. )
)
SUSAN WALLACE and )
HENDERSON COUNTY BOARD )
OF EDUCATION, )
)
Defendants. )

 

ORDER PERMITTING WITHDRAWAL OF COUNSEL

 

Jason B. Rudd and Jon A. York, attorneys for Defendant Susan Wallace, have moved the
Court to permit them to Withdraw as counsel in this action. Defendant Susan Wal]ace consents
to this Withdrawal. Counsel for the P]aintiffs and Co-Defendant do not object to the Withdrawal
and Defendant Susan Wa]lace is currently, and Will continue to be, represented by other counsel
in this matter. Furthermore, Withdrawal from this ease by Attomeys Jason B. Rudd and Jon A.
York Will not prejudice the parties and Will not cause any delay in this matter. Accordingly,
Attomeys Jason B. Rudd and Jon A. York’S motion to withdraw as counsel in this matter is
GRANTED.

IT IS SO ORDERED.

QHWWSM

JUDGE

DATE yH// Q/»LM W(

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:04-CV-01191 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

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Honorable J ames Todd
US DISTRICT COURT

